                      Case 1:21-mj-00526-RMM Document 1 Filed 07/14/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                               v.                                    )
                                                                     )      Case No.
                                                                     )
                                                                     )
          NATHAN WAYNE ENTREKIN                                      )
               DOB: XXXXXX                                           )
                           Defendant


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                               in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(1), (2)—Knowingly Entering or Remaining in any Restricted Building or Grounds
                                               Without Lawful Authority
          40 U.S.C. § 5104(e)(2)(C)(i), (D), (G)—Violent Entry and Disorderly Conduct on Capitol Grounds




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                       Trevor Culbert, Special Agent
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3 E\WHOHSKRQH
                                                                                                             2021.07.14
Date:           July 14, 2021                                                                                12:29:42 -04'00'
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ'&                     Robin M. Meriweather, U.S. Magistrate Judge
                                                                                               Printed name and title
